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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
               v.                                 )   No.     1:21-cr-28-10 (APM)
                                                  )
KENNETH HARRELSON,                                )
                                                  )
                         Defendant.               )

               GOVERNMENT’S OPPOSITION TO DEFENDANT’S THIRD
                          MOTION FOR RELEASE

       Defendant Harrelson’s third motion for release suffers from the same flaws as his second

motion for release, and it should meet the same fate: summary denial. As the Court wrote when it

denied his second motion for release, see Sept. 17, 2021, Order (ECF 430), the defendant simply

rehashes facts that were addressed at the initial detention hearing but fails to articulate any new

material facts or law that would warrant a reconsideration of the Court’s initial detention decision.

       Defendant Harrelson’s lengthy motion is rife with outlandish arguments but fails to even

mention the relevant statutory provision at issue. Section 3142(f)(2)(B) permits a court to reopen

a bond hearing and reconsider a defendant’s detention if the court “finds that information exists

that was not known to the movant at the time of the hearing and that has a material bearing on the

issue [of] whether there are conditions of release that will reasonably assure the appearance of

such person as required and the safety of any other person and the community.” Apr. 23, 2021

Order (ECF 177) (quoting 18 U.S.C. § 3142(f)(2)(B)) (alterations in original). It is Defendant

Harrelson’s burden to come forward with “new and material information,” which “must consist of

truly changed circumstances, something unexpected, or a significant event.” United States v. Lee,

451 F. Supp. 3d 1, 5 (D.D.C. 2020) (internal citation and quotation omitted). He has not come

close to meeting that burden here.
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       The present motion is Defendant Harrelson’s sixth attempt, 1 with his fourth lawyer, to

secure his release:

       1. On March 15, 2021, Middle District of Florida Magistrate Judge Embry Kidd

           conducted a detention hearing. At the time, Defendant Harrelson was represented by

           attorney Kenneth Barlow. Judge Kidd ordered Defendant Harrelson detained pending

           trial. See Case No. 6:21-mj-01221-EJK (M.D. Fla., ECF No. 7, Mar. 15, 2021).

       2. Defendant Harrelson was then transported to Washington, D.C., and he retained two

           new attorneys: Nina Ginsberg and Jeffrey Zimmerman. They promptly moved this

           Court to reconsider Judge Kidd’s detention order. ECF 143. On April 14, 2021, this

           Court conducted a detention hearing and ordered Defendant Harrelson detained

           pending trial. ECF 167 (Hearing Transcript).

       3. Defendant Harrelson then retained a new attorney: John Pierce. On August 11, 2021,

           Defendant Harrelson moved to adopt a co-defendant’s motion for release, ECF 336,

           which the Court summarily denied via minute order the following day.

       4. On August 17, 2021, Defendant Harrelson moved to revoke Judge Kidd’s detention

           order. ECF 341. On September 17, 2021, the Court issued an order denying this motion

           to revoke the detention order. ECF 430. The Court held that Defendant Harrelson had

           offered “no compelling reason for the court to reconsider its [detention] decision.” Id.

           at 2. The Court also held that Defendant Harrelson failed to “address any of the evidence

           the court considered at the prior detention hearing. Instead, he merely makes assertions

           about the lack of evidence that he engaged in violent acts or directly destroyed

           property.” Id.


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  On November 16, 2021, he filed yet another motion for release—his seventh—on alleged
“humanitarian” grounds. ECF 489. The government will address that motion separately.

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        5. On August 20, 2021, Defendant Harrelson filed a sealed supplement, with additional

             arguments, purporting to support his August 17 motion. ECF 357. On September 17,

             2021, the Court issued a minute order holding that the legal argument in the sealed

             supplemental pleading did not “not alter the court’s determination to detain

             Defendant.” Sept. 17, 2021 Min. Order. However, because the sealed supplemental

             pleading also alleged facts about the defendant’s health status, the Court provided the

             government an opportunity to respond. Id. On October 14, 2021, during a status

             hearing, the Court concluded that Defendant Harrelson’s alleged medical condition did

             not warrant a change in his detention status. ECF 463 (Hearing Transcript) at 54-57.

Defendant Harrelson has now retained another new attorney, but he puts forth no new facts or law

in his present bond motion. ECF 483.

        Defendant Harrelson’s current motion is similar to the prior one he filed, and it should meet

the same fate. “[H]e merely makes assertions about the lack of evidence that he engaged in violent

acts or directly destroyed property. But, of course, this court was aware of the absence of such

proof, and yet detained Defendant anyways because the totality of the evidence established his

dangerousness.” ECF 430 (Sept. 17, 2021, Order), at 2 (internal citation omitted).

   I.        Factually Inaccurate Statements

        Defendant Harrelson makes many factually inaccurate statements, none of which have any

impact on this Court’s prior decision that he would pose a danger to the community if he were

released.

        First, he alleges that Congress recessed on that afternoon of January 6 because of reports

of a pipe bomb, not because Defendant Harrelson and hundreds of others were in the process of

storming the Capitol. ECF 483 at 19-20. As support, he cites his own reply brief in support of the

motion to dismiss, ECF 465 at 14-15. But even the sources he cites in the reply brief state that the

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pipe bombs caused the evacuation of certain office buildings on the Capitol complex, not the

Capitol building itself. There is no support for Defendant Harrelson’s allegation that his actions

on January 6 did not contribute to the obstruction of Congress’s Joint Session. Regardless, that is

a fact for a jury to decide at trial; it certainly does not support his release.

        Second, Defendant Harrelson makes much of the time the House recessed, alleging that to

be 2:18pm. ECF 483 at 9. As a factual matter, while the House initially recessed at 2:18pm, it

came back into session at 2:26pm, only to recess again at 2:29pm. See Congressional Record, vol.

164, no. 4 (Jan. 6, 2021), at H85. At the time, the two Houses had adjourned to their respective

chambers to debate an objection, and the Senate itself recessed at 2:13pm. See id. at S18.

Moreover, Defendant Harrelson was unlawfully on the Capitol grounds as of 2:02pm, see ECF

328 (Fifth Superseding Indictment) at ¶ 117, and by 2:29pm—the time the House recessed for the

second time—he was on the stairs outside the Rotunda doors. Regardless, the time a particular

House recessed is irrelevant. Some members of Congress remained in the building after Defendant

Harrelson had breached it, and they could not resume their constitutional and statutory duties until

Defendant Harrelson and the other rioters were expelled.

        Third, Defendant Harrelson claims, citing a government disclosure letter, that “there were

no incriminating signal chats prior to January 6th.” ECF 483 at 32. That is false. The

government’s disclosure language, which is visible in the defendant’s motion, states that in this

particular draft of this particular Signal thread (“OK FL DC OP Jan 6”), there are no “explicit

references to a plan to forcibly enter the U.S. Capitol.” That is a far cry from a bald statement that

there are no incriminating Signal messages in this case. There are reasons why a particular Signal

thread may not contain certain statements: depending on the settings, a user may be able to delete




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his own message 2 and an administrator may be able to delete others’ messages. 3 Signal messages

are stored locally on users’ devices, so there is no mechanism to obtain the messages from Signal

itself.

          Moreover, there are indeed incriminating Signal messages in this case. To take one

example, on December 25, 2020, co-defendant (and Defendant Harrelson’s team lead) Kelly

Meggs wrote in a Signal thread on which Defendant Harrelson was also a member (titled “OKFL

Hangout”):

          We need to make those senators very uncomfortable with all of us being a few
          hundred feet away. Our peaceful protests need to have a little more teeth. They
          aren’t listening. Now we aren’t talking about crossing the line. But we need to be
          standing on the line!!! It’s all bad from here guys. We need Trump because it will
          make our jobs easier. There is gonna be blood in the streets no matter what.

Person One then wrote:

          I think Congress will screw [Trump] over. The only change we/he has is if we scare
          the shit out of them and convince them it will be torches and pitchforks time is [sic]
          they don’t do the right thing. But I don’t think they will listen.

          To take another example, an additional Signal thread shows that the leaders of the Oath

Keepers called members and affiliates to the Capitol while referencing the ongoing attack. This

thread includes messages directing Kelly Meggs to come to a particular part of the Capitol grounds

about half an hour before Kelly Meggs and Defendant Harrelson (and others) entered the Capitol.

See Superseding Indictment (ECF 328) at ¶¶ 124, 131-32 (citing Signal thread “DC OP: Jan 6 21”).




2
 Indeed, here, Defendant Harrelson posted in the Signal thread “OK FL DC OP Jan 6” but then
deleted his own messages.
3
  For example, in a version of the Signal thread “OK FL Vetted Chat” that the government obtained
from a user’s phone, there is no content at all between January 4 and 8, 2021. But the government
knows that users were actively posting in that thread on January 6, because it recovered a
screenshot from Defendant Harrelson’s phone showing that he received notifications of posts in
that particular thread on January 6.

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         Fourth, Defendant Harrelson makes the ludicrous statement that he was “peacefully” in the

Rotunda, attempting to photograph or video his surroundings. Id. at 24-25. And he alleges that

he “peacefully enter[ed] the Capitol” and that the mob of other people with him “look[ed] like

Disney World crowds.” Id. at 35. The video taken by Defendant Harrelson himself, see ECF 152

(Gov’t Opp. to Def.’s Mot. for Recons. of Conditions of Release, at Ex. 2 IMG_1399), debunks

this myth. There is nothing peaceful about Defendant Harrelson’s actions. His co-conspirators

(and possibly Harrelson himself) are chanting “Treason!” as they physically force their way into

the Capitol and march through the Rotunda.

         Fifth, Defendant Harrelson declares several times that he “defended” or “aid[ed]” Officer

Dunn. ECF 483 at 31, 39, 41. But, as the government pointed out in its opposition to co-defendant

Kelly Meggs’s second bond review motion, ECF 388, neither Officer Dunn nor the other officers

who were nearby stated or suggested that the indicted defendants assisted the officers. Not only

is the statement untrue, but it is irrelevant. Anything Defendant Harrelson personally did would

have been known to him at the time of his detention hearing, and thus would not be “new”

information that would warrant reopening the hearing.

   II.      Legally Irrelevant Arguments

         Defendant Harrelson also makes three legally irrelevant arguments.

         First, he takes issue with this Court’s finding that he lied while testifying at his detention

hearing in Florida. ECF 483 at 38. He attempts to minimize and justify his actions by claiming

he may have been confused by lack of medication and sleep. Id. But even if these arguments were

credited, these were facts obviously known to the defense at the time of his prior detention hearing.

There is nothing new here.

         Second, he complains that there is no evidence that he destroyed property. Id. at 39. But

as the government explained at the detention hearing, the government does not allege that he

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personally destroyed property; the government alleges that he is legally responsible for the

destruction committed by others under an aiding and abetting or Pinkerton theory of liability. Apr.

14, 2021 Tr. at 4-11.

       Third, he makes an unsupported allegation of “Government undercover agents and other

‘insincere’ march attendees.” ECF 483 at 1. And he spills much ink on the Twitter posts of a

Florida elected official. Id. at 18-19, 37. But allegations about prejudicial statements made by

“Florida State Officials” and in “overheated press coverage,” id. at 37, even if true or supported

by facts, have no impact on this Court’s decision that Defendant Harrelson would pose a danger

to the community if he were released.

       Defendant Harrelson’s motion for release should be denied.

                                      Respectfully submitted,

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